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                             Exhibit E
    Case 1:19-cv-06570-PKC-MMH Document 81-5 Filed 08/25/22 Page 2 of 3 PageID
BENNIE G. THOMPSON, MISSISSIPPI
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                                                                         MIKE ROGERS, ALABAMA
           CHAIRMAN                                                                                 RANKING MEMBER




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          March 7, 2019


          Mr. Kevin K. McAleenan
          Commissioner
          U.S. Customs and Border Protection
          1300 Pennsylvania Ave. NW
          Washington, D.C. 20229


          Dear Commissioner McAleenan:

          We are writing to express our great concern about a U.S. Customs and Border Protection (CBP)
          list the agency is using to stop, detain, question, and search 59 reporters, attorneys, and
          advocates, most of whom are U.S. citizens, at the southern border. Fwiher, we are requesting
          infom1ation about this troubling practice, which raises serious legal and constitutional questions .

          Yesterday, NBC News reported that in January, CBP published a list entitled, " San Diego Sector
          Foreign Operations Branch: Migrant Caravan FY 2019 Suspected Organizers, Coordinators,
          Instigators, and Media." The document includes photos and instructions for CBP.officers to stop
          the 59 individuals if they cross the border, and interviews with targeted individuals confirm they
          are being stopped for secondary inspection. Some individuals have even been required to allow
          CBP officers to search their cell phones before being released.

         The appearance that CBP is targeting journalists, lawyers, and advocates, and particularly those
         who work on immigration matters or repmi on border and immigration issues, raises questions
         about possible misuse of CBP ' s border search authority and requires oversight to ensure the
         protection of Americans ' legal and constitutional rights. Therefore, we request the following
         information by March 14, 2019:

              ( 1) A copy of the list and any accompanying instructions or guidance to CBP officers on
                   actions to be taken when encountering a person on the list.

              (2) Copies of any "dossiers" on the 59 individuals and information about which agencies or
                  foreign governments provided information for such dossiers.

              (3) An explanation of why each of these 59 individuals were included on the list.
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       (4) An account of how many times these 59 individuals have been stopped for further
           questioning by CBP since January 19, 2019.

       (5) An account of the individuals on the list whose phone was searched or seized by CBP
           officers.

    Thank you for your prompt attention to this important matter.




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    Bennie G. Thompson
    Chairman
                                                        Kathleen M. Rice
                                                        Chairwoman
                                                        Subcommittee on Border Security,
                                                        Facilitation, and Operations
